      Case 1:24-cv-00381-JMR-KK Document 4 Filed 04/25/24 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW MEXICO



ELI REISMAN,

                         Plaintiff,

v.                                                           case no. 1:24-cv-381 JMR/KK

KP COMMERCE LLC,

                         Defendant.


                            CERTIFICATE OF GOOD STANDING

         The undersigned attorney, in accordance with D.NM.LR-Civ. 83.3, certifies that Anthony

Paronich is a member in good standing of the bar of the State of Massachusetts.


                                               RESPECTFULLY SUBMITTED,

                                         By:   /s/ Sid Childress
                                               _____________________________
                                               Sid Childress, Lawyer
                                               PO Box 1146
                                               Santa Fe, NM 87504
                                               childresslaw@hotmail.com
                                               (505) 433 - 9823
                                               Local Counsel for Plaintiff


                                  CERTIFICATE OF SERVICE

         I caused this document to be served electronically by filing it through the Court’s CM/ECF
System
                                               /s/ Sid Childress
                                               ____________________________
